
557 S.E.2d 528 (2001)
354 N.C. 568
Frank A. CONSIDINE
v.
COMPASS GROUP, USA, INC.
No. 529A01.
Supreme Court of North Carolina.
December 18, 2001.
Ferguson, Stein, Chambers, Wallas, Adkins, Gresham &amp; Sumter, P.A., by John W. Gresham, Charlotte, for plaintiff-appellant.
Smith Helms Mulliss &amp; Moore, L.L.P, by H. Landis Wade, Jr.; Paul M. Navarro, and Melissa M. Kidd, Charlotte, for defendant-appellee.
PER CURIAM.
AFFIRMED.
